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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                 SOUTHEASTERN DIVISION

 RONALD LAMONT SUTTON,                            )
                                                  )
                 Plaintiff,                       )
                                                  )
         v.                                       )             No. 1:19-CV-106 HEA
                                                  )
 DUNKLIN COUNTY, et al.,                          )
                                                  )
                 Defendants.                      )

                                MEMORANDUM AND ORDER

       This matter is before the Court on plaintiff’s post-appeal motion to compel. The Court has

reviewed plaintiff’s motion and been unable to determine the relief requested by plaintiff in his

motion. For this reason, the Court must deny any requested relief.

       All previous Orders of this Court remain in full force and effect. Additionally, plaintiff

may not file any further motions with the Court as the case is closed and the matter has already

been appealed.

       Accordingly,

       IT IS HEREBY ORDERED that plaintiff’s motion to compel [Doc. #36] is DENIED.

       IT IS FURTHER ORDERED that the Clerk shall not accept any additional motions filed

by plaintiff in this closed action. If plaintiff files an additional motion the Clerk shall return the

motion to plaintiff.

       Dated this 20th day of October, 2020.




                                                     HENRY EDWARD AUTREY
                                                   UNITED STATES DISTRICT JUDGE
